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                                    UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF VIRGINIA
                                             Richmond Division

    In re:                                                                 Case No. 20-31408-KLP
                                        1
                Gemini Realty LLC

                Debtor                                                     Chapter
                                                                           11


                                 Plan of Reorganization for Gemini Realty, LLC2
                                                  June 10, 2020

    Preamble for Debtor’s Plan of Reorganization

               A.       Description and History of the Debtor's Business

    Gemini Realty LLC is a limited liability company, whose principal business since late 2016 has
    been the purchase and rehabilitation of real estate for ultimate sale or alternative use. One such
    alternative use potential is as a group home. To that end, a license was obtained from the Virginia
    Department of Behavioral Health & Developmental Services to operate the Debtor’s real property
    located at 1902 Reagan Road, Henrico, Virginia 23231 as a group home. The Debtor is
    rehabilitating its other piece of real property located at 10613 Sherwin Place, Glen Allen, Virginia
    23059, and the same may also ultimately be leased as a group home.

               B.       Liquidation Analysis

    To confirm this Plan, the Court must find that all Creditors and Equity Interest holders who do not
    accept the Plan will receive at least as much under the Plan as such Claim and Equity Interest
    holders would receive in a Chapter 7 liquidation. As such a liquidation analysis is attached hereto
    as Exhibit A, which liquidation analysis demonstrates the same.




    1
        The Debtor’s address is 10613 Sherwin Place, Glen Allen, Virginia 23059, and the Debtor’s EIN is XX-XXXXXXX.

    2
        Defined terms shall be as provide in Article 8.01 herein


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         C.      Ability to Make Future Plan Payments and Operate without Further
                 Reorganization

The Debtor maintains that it will have enough Cash over the life of the Plan to (a) make the required
payments provided herein and (b) operate the Reorganized Debtor’s business as demonstrated on
the projected financial information attached as Exhibit B. The financial projections show that the
Reorganized Debtor will have projected disposable income (as defined by § 1191(d) of the
Bankruptcy Code) for the period described in § 1191(c)(2) of approximately $370,000.00. The
final Plan payment is expected to be paid on or before August 2023.

The Debtor’s projections are based on the following assumptions: All necessary licenses and
permits will be obtained by September 2020; Financing markets for investment property will be
fully operational by September 2020; Tenant and/or residents will pay all expenses other than
property taxes, property insurance, operating licenses, mortgage payments, and legal/accounting
expenses; Beginning not later than October 2020, Reorganized Debtor will receive 50 percent of
the proceeds from the locations of Reagan Property and Sherwin Property from Zuriel and/or the
residents the residents thereof; Sherwin Property will be refinanced on or before 120 days from
the Effective Date and all amounts owed subject to a Lien against said property will be paid at
closing. Unfortunately, certain of said assumptions are outside of the Debtor’s control especially
given the uncertainties in today’s economy related to the COVID-19 pandemic. For example, on
March 15, 2020, the Debtor received a conditional loan approval from Velocity Commercial
Capital, LLC for the refinance of the real estate located at 10613 Sherwin Place, Glen Allen,
Virginia 23059. However, shortly thereafter the Debtor learned that Velocity Commercial Capital,
LLC had temporarily suspended loan originations for their investment property mortgage
programs, and as late as June 2, 2020, the website continued to indicate the same.

You should consult with your accountant or other financial advisor if you have any questions
pertaining to these projections.

         Article 1: Summary


This Plan under Chapter 11 of the Bankruptcy Code proposes to pay the Debtor’s Creditors through
(a) income generated by the operation of the Debtor’s business for three years from the Initial
Distribution Date, (b) loans from Ms. Jevette Smith and/or Zuriel and/or (c) a refinance of the
Sherwin Property.

This Plan provides for:          1 Class of priority Claims;

                                 4 Classes of Secured Claims;

                                 1 Class of General Unsecured Claims; and




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                                 1 Class of Equity Interest holders.

Secured Claims will be paid (a) pursuant to the terms of Pre-Petition Loan Documents, (b) in full
on or before 120 days from the Effective Date, (c) payment in full in pro-rata payments on each
Distribution Date beginning on the Initial Distribution Date, paid pro-rata of the Distribution
Amount to all Holders of Allowed Secured Claims other than Mr. Cooper, (d) surrender of the
respective Collateral, and/or (e) as otherwise agreed by the Debtor and the holder of the Secured
Claim. This Plan also provides for the payment of Administrative and Priority Claims in full based
on known Claims. Non-priority General Unsecured Creditors holding Allowed Claims will receive
Distributions, which the Debtor has valued at approximately 100 cents on the dollar based on
known Claims. The complete universe of Claims is unknown because the Claims Bar Date has not
passed, which date is July 13, 2020, with respect to Claims of Non-Governmental Units and which
date is September 8, 2020, with respect to Claims of Governmental Units.

All Creditors and Equity Security Holders should refer to Articles 3 through 6 of this Plan for
information regarding the precise treatment of their Claim.

Your rights may be affected. You should read these papers carefully and discuss them with
your attorney if you have one. (If you do not have an attorney, you may wish to consult one.)

         Article 2: Classification of Claims and Interests


2.01 Class 1                  The Secured Claim of Mr. Cooper, to the extent Allowed as a Secured
                              Claim under § 506 of the Code.

2.02 Class 2                  The Secured Claim of Prasad Associates to the extent Allowed as a
                              Secured Claim under § 506 of the Code.

2.03 Class 3                  The Secured Real Property Claims against the Reagan Property other
                              than Mr. Cooper, to the extent Allowed as Secured Claims under § 506
                              of the Code.

2.04 Class 4                  The Secured Real Property Claims against the Sherwin Property other
                              than Prasad Associates, to the extent Allowed as Secured Claims under
                              § 506 of the Code.

2.05 Class 5                  All Allowed Claims entitled to priority under § 507(a) of the Code
                              (except Administrative Expense Claims under § 507(a)(2), and Priority
                              Tax Claims under § 507(a)(8)).




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2.06 Class 6                  All non-priority General Unsecured Claims allowed under § 502 of the
                              Code.

2.07 Class 7                  Equity Interests of the Debtor.


         Article 3: Treatment of Administrative Expense Claims, Priority Tax Claims, and
         Quarterly and Court Fees


3.01 Unclassified             Pursuant to § 1123(a)(1), Administrative Expense Claims, and Priority
     Claims                   Tax Claims are not in Classes.

3.02 Administrative           Provided that (a) proof/request of Administrative Expense Claim has
     Claims and Fee           been filed on or before the Administrative Claims Bar Date and (b) an
     Claims                   Administrative Claim has not been paid prior to the Effective Date, on,
                              or as soon as reasonably practicable after the Distribution Date
                              immediately following the date an Administrative Claim becomes an
                              Allowed Administrative Claim, a Holder of an Allowed
                              Administrative Claim shall receive, in full and final satisfaction,
                              settlement and release of and in exchange for such Allowed
                              Administrative Claim, (i) Cash equal to the unpaid portion of such
                              Allowed Administrative Claim or (ii) such other treatment as to which
                              such Holder and the Debtor shall have agreed upon in writing;
                              provided, however, that Allowed Administrative Claims with respect
                              to liabilities incurred by the Debtor in the ordinary course of business
                              during the Chapter 11 Case may be paid in the ordinary course of
                              business in accordance with the terms and conditions of any
                              agreements relating thereto by the Debtor. Holders of Administrative
                              Claims will be paid in full on account of their Claims and are not
                              entitled to vote on this Plan.

                              Persons seeking an award by the Bankruptcy Court of a Fee Claim
                              incurred through and including the Effective Date shall, unless
                              otherwise ordered by the Bankruptcy Court: (i) file their respective
                              final applications for allowance of compensation for services rendered
                              and reimbursement of expenses incurred by the date that is no later
                              than thirty (30) days after the Effective Date; and (ii) except as
                              otherwise provided in the Plan, be paid in full in such amounts as are
                              approved by the Bankruptcy Court upon the later of (a) the date upon
                              which the Order relating to any such Fee Claim is entered or (b) upon
                              such other terms as may be mutually agreed upon between the Holder
                              of such Fee Claim and the Debtor.



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3.03 Priority Tax             Allowed Priority Tax Claims shall be paid in full in the amount of
     Claims                   Allowed Priority Tax Claims in not less than yearly payments on each
                              Distribution Date beginning on the Initial Distribution Date within five
                              (5) years from the Petition Date and in a manner not less favorable than
                              payments to Holders in Class 6.

3.04 Statutory Fees           Any fees required to be paid under 28 U.S.C. § 1930 that are owed on
                              or before the Effective Date of this Plan have been paid or will be paid
                              on the Effective Date. The Debtor is aware of no said amount due and
                              owing given 28 U.S.C. 1930(a)(6)(A) specifically excludes payments
                              for cases under Subchapter V of the Bankruptcy Code.

         Article 4: Treatment of Claims and Interests Under the Plan


4.01 Claims and Equity Interests shall be treated as follows under this Plan:


Class                          Impairment        Treatment

Class 1 - Secured Claim           Impaired   Class 1 consists of the outstanding balance as of the
of Mr. Cooper                                Confirmation Date of the Allowed Secured Claim
                                  Unimpaired of Mr. Cooper. The same will be paid pursuant to
                                             the terms of the Pre-Petition Loan Documents, as
                                             may be modified by Mr. Cooper, between Mr.
                                             Cooper and the Debtor.

Class 2 – Secured Claim           Impaired   Class 2 consists of the outstanding balance as of the
of Prasad Associates                         Confirmation Date of the Allowed Secured Claim
                                  Unimpaired of Prasad Associates. The same will be satisfied in
                                             full with (a) the Prasad Associates Payment on or
                                             before 120 days of the Effective Date and (b) the
                                             Prasad Associates Release. Within seven (7) days
                                             after the Effective Date, the Debtor shall tender the
                                             Prasad Associates Pocket Deed to counsel for
                                             Prasad Associates, who shall hold the same in
                                             escrow subject to the terms of this Plan. The Pre-
                                             Petition Loan Documents of Prasad Associates
                                             shall remain in full force and effect except as
                                             modified herein until payment of the Prasad
                                             Associates Payment or as otherwise mutually
                                             agreed by Prasad Associates and the
                                             Debtor/Reorganized Debtor. Upon receipt of the


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                                               Prasad Associates Payment, (1) all of the Pre-
                                               Petition Loan Documents of Prasad Associates
                                               shall be marked “satisfied” and/or “released,” and
                                               thereafter permanently destroyed, and (2) the
                                               Prasad Associates Pocket Deed shall immediately
                                               be destroyed. To the extent the Prasad Associates
                                               Pocket Deed is ever recorded before the time
                                               provided herein and/or after payment of the Prasad
                                               Associates Payment, the same shall be deemed void
                                               and in contravention of the Confirmation Order.

Class 3 – Secured Real            Impaired   Class 3 consists of the outstanding balance as of the
Property Claims                              Confirmation Date of all Allowed Secured Claims
Against the Reagan                Unimpaired against the Reagan Property other than Claims of
Property Other Than                          Mr. Cooper. The same will be satisfied by (a)
Mr. Cooper                                   payment in full in pro-rata payments on each
                                             Distribution Date beginning on the Initial
                                             Distribution Date, paid pro-rata of the Distribution
                                             Amount to all Holders of Allowed Secured Claims
                                             other than Mr. Cooper, (b) surrender of the
                                             Collateral, and/or (c) as otherwise agreed by the
                                             Holder of said Claim. Claimants in this Class shall
                                             retain their Liens against the assets of the
                                             Debtor/Reorganized Debtor in the same extent and
                                             validity as they maintained before the Petition Date
                                             against the Debtor.

Class 4 – Secured Real            Impaired   Class 4 consists of the outstanding balance as of the
Property Claims                              Confirmation Date of all Allowed Secured Claims
Against the Sherwin               Unimpaired other than the Claims of Prasad Associates against
Property Other Than                          the Sherwin Property. The same will be satisfied by
Prasad Associates                            (a) payment in full in pro-rata payments on each
                                             Distribution Date beginning on the Initial
                                             Distribution Date, paid pro-rata of the Distribution
                                             Amount to all Holders of Allowed Secured Claims;
                                             (b) paid in full on or before 120 days of the
                                             Effective Date; (c) surrender of the Collateral,
                                             and/or (d) as otherwise agreed by the Holder of said
                                             Claim. Claimants in this Class shall retain their
                                             Liens against the assets of the Debtor/Reorganized
                                             Debtor in the same extent and validity as they
                                             maintained before the Petition Date against the
                                             Debtor.



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Class 5 – Priority                Impaired   Class 5 consists of the outstanding balance as of the
Claims Excluding                             Confirmation Date of the Allowed Priority Claims,
Those in Article 3                Unimpaired which Allowed Priority Claims shall be paid in full
                                             in the amount of Allowed Priority Claims in not less
                                             than yearly payments on each Distribution Date
                                             beginning on the Initial Distribution Date within
                                             five (5) years from the Petition Date and in a
                                             manner not less favorable than payments to Holders
                                             in Class 6.

Class 6 – Non-Priority            Impaired   Except to the extent that the Holder of a Claim in
General Unsecured                            Class 6 agrees to less favorable treatment, each
Creditors                         Unimpaired Holder not otherwise treated in another Class, shall
                                             receive its pro-rata share of the Distribution
                                             Amount from the Debtor on each Distribution Date,
                                             commencing after complete satisfaction of all
                                             Allowed Claims in other Classes, Allowed Fee
                                             Claims and/or Allowed Administrative Claims until
                                             (a) such Allowed Unsecured Claims have been paid
                                             in full or (b) the third Distribution Date. The
                                             obligations of the Debtor with respect to Claims in
                                             Class 6 shall not be secured.

Class 7 - Equity                  Impaired      The Holder of the Reorganized Debtor’s Equity
Security Holders of the                         Interests shall be Ms. Smith.
Debtor                            Unimpaired



         Article 5: Allowance and Disallowance of Claims


 5.01     Disputed Claim                  A Disputed Claim is a Claim that has not been allowed or
                                          disallowed by a final non-appealable order, and as to
                                          which either:
                                          (i) a Proof of Claim has been filed or deemed filed, and
                                          the Debtor or another party in interest has filed an
                                          objection; or
                                          (ii) no Proof of Claim has been filed, and the Debtor has
                                          scheduled such Claim as disputed, contingent, or
                                          unliquidated.




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 5.02     Delay of Distribution on a          No distribution will be made on account of a Disputed
          Disputed Claim                      Claim unless such claim is allowed by a Final Order.
 5.03     Settlement of Disputed              The Debtor will have the power and authority to settle and
          Claims                              compromise a Disputed Claim with court approval and
                                              compliance with Rule 9019 of the Federal Rules of
                                              Bankruptcy Procedure.

         Article 6: Provisions for Executory Contracts and Unexpired Leases


6.01 Assumed                   (a) The Debtor assumes, and if applicable assigns to the Reorganized
     Executory                    Debtor, the following executory contracts, and unexpired leases as
     Contracts and                of the Effective Date:
     Unexpired                     T-Mobile; Traveler’s/Geico Insurance Company, Inc.;
     Leases                        lease/agreement with Zuriel; any and all building permits and/or
                                   certificates of occupancy and related instruments and any and
                                   all licenses obtained from the Virginia Department of
                                   Behavioral Health and Developmental Services and/or similar
                                   entities.3
                               (b) Except for executory contracts and unexpired leases that have been
                                  assumed, and if applicable assigned, before the Effective Date or
                                  under section 6.01(a) of this Plan, or that are the subject of a pending
                                  motion to assume, and if applicable assign, the Debtor will be
                                  conclusively deemed to have rejected all executory contracts and
                                  unexpired leases as of the Effective Date.
                               A Proof of Claim arising from the rejection of an executory contract or
                               unexpired lease under this section must be filed no later than 30 days
                               after entry of the Confirmation Order.



         Article 7: Means for Implementation of the Plan



            Plan Payments/            Payments under the Plan will be made with (a) the Debtor’s
 7.01       Vesting of                Disposable Income for three years from the Initial Distribution,
            Property                  (b) loans from Ms. Smith and/or Zuriel and/or (c) a refinance of
                                      the Sherwin Property. For the avoidance of doubt, the

3 The Debtor does not concede that all said instruments are executory contracts, but the same are included out of an
abundance of caution.




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                                  Debtor/Reorganized Debtor shall be authorized to refinance the
                                  Sherwin Property as a means of implementing this Plan. To the
                                  extent any loans are obtained from Ms. Smith and/or Zuriel, the
                                  Reorganized Debtor shall be authorized to repay said amounts
                                  when sufficient funds exist to cover said advances and other
                                  operating expenses. On the Effective Date, all Estate property
                                  shall revest in the Reorganized Debtor, subject to the Liens of
                                  Mr. Cooper, Prasad Associates, the City of Richmond DPU,
                                  Henrico      County,      and     Magnolia    Ridge     expressly
                                  created/preserved by this Plan, but otherwise free and clear of all
                                  other liens, claims, interests, and encumbrances.
                                  Pursuant to Bankruptcy Code § 1146(a), any transfers from any
                                  Debtor and/or the Reorganized Debtor to any Entity, pursuant to
                                  this Plan in the United States shall not be subject to any stamp
            Exemption from        tax or similar tax, and the Confirmation Order shall direct the
 7.02       Transfer and          appropriate state or local governmental officials or agents to
            Recordation Taxes     forgo the collection of any such tax or governmental assessment
                                  and to accept for filing and recordation any of the foregoing
                                  instruments or other documents without the payment of any such
                                  tax or governmental assessment.
                                  The Debtor and/or Reorganized Debtor shall be authorized to
                                  execute, deliver, file or record such stipulations, contracts,
                                  instruments, releases and other agreements or documents and
                                  take such actions as may be necessary or appropriate to
                                  effectuate and further evidence the terms and conditions of this
                                  Plan. In addition, the Debtor, upon the Confirmation Order
            Effectuating          becoming a Final Order, may without further notice or order rent
            Documents and         and/or otherwise lease to one or more entities the Reagan
 7.03
            Further               Property and/or the Sherwin Property. Furthermore, pursuant to
            Transactions          § 1142(b) of the Bankruptcy Code, any necessary party and/or
                                  parties will be directed by the Court to execute or deliver or to
                                  join in the execution or delivery of any instrument required to
                                  effect a transfer of property dealt with by this Plan, and to
                                  perform any other act, including the satisfaction of any lien, that
                                  is necessary for the consummation of the Plan.
                                  Upon the request of the Debtor and/or Reorganized Debtor, any
                                  Entity (1) that is entitled to receive any distribution under this
                                  Plan and/or (2) whose Lien (or purported lien) is extinguished or
 7.04       Releases of Record    modified pursuant to this Plan, shall execute and deliver such
                                  documents and instruments as are necessary to release or modify
                                  of record any Lien, to the extent such Lien is extinguished or
                                  modified pursuant to this Plan. Notwithstanding any provision


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                                  in this Plan, the Debtor and/or Reorganized Debtor shall not be
                                  required to make any Distribution, or deliver any document or
                                  instrument, to such Entity, unless and until such Entity has
                                  complied with this obligation. To the extent such entity fails to
                                  take such action forthwith upon the Effective Date, the
                                  Reorganized Debtor is authorized to take such action. The
                                  obligations set forth in this paragraph shall not be waived by any
                                  action or inaction of the Debtor and/or Reorganized Debtor,
                                  including without limitation commencement of Distributions to
                                  the affected Entity.
                                  Except as expressly set forth in this subsection and/or the Prasad
            Causes of Action      Associates Release, all Causes of Action of the Debtor shall be
 7.05       and Avoidance         preserved. Avoidance Actions under § 547 of the Bankruptcy
            Actions               Code shall be released on the Effective Date.
                                  Notwithstanding the occurrence of the Effective Date, all
            Preservation of       Allowed Claims, including without limitations Allowed
 7.06                             Administrative Claims, shall retain their respective priority
            Priority
                                  under the Bankruptcy Code and applicable non-bankruptcy law.
                                  The Debtor and/or Reorganized Debtor may employ Insiders
            Employment of         including but not limited to Ms. Smith. Compensation paid to an
 7.07                             Insider shall be at or below fair market value if said Insider is
            Insiders
                                  Ms. Smith.
                                  The officers and directors of the Reorganized Debtor shall be
            Officers and          Ms. Smith and others as disclosed on or before the Confirmation
 7.08
            Directors             Hearing.
                                  Any Claim in existence as of the Petition Date that is not
                                  scheduled by the Debtor, or that is scheduled as contingent,
                                  unliquidated or disputed, or that varies in amount, nature or
                                  priority from that stated in the Debtor’s Schedules, must have
                                  been asserted, if at all, by the filing of a Proof of Claim with the
                                  Bankruptcy Court. Such Proof of Claim must have been filed
                                  with the Bankruptcy Court no later than the Claims Bar Date.
 7.09       Bar Date              Absent further order of the Bankruptcy Court, the failure to
                                  file a Proof of Claim by the Claims Bar Date shall constitute
                                  a bar against the assertion or collection of any such Claim,
                                  and shall relieve the Debtor from any liability, responsibility,
                                  or obligation with respect to such Claim. Without limiting
                                  the generality of the foregoing, no distribution shall be made
                                  pursuant to this Plan with respect to any Claim that is not
                                  filed by the Claims Bar Date. The Debtor shall not be



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                                     required to file any objection in order to confirm or
                                     determine the disallowance of any late-filed Proof of Claim.
                                     Delivery of Distributions and Undeliverable or Unclaimed
    7.10                             Distributions Assuming a Consensual Plan4
                                     Distributions to Holders of Allowed Claims shall be made by the
                                     Debtor (a) at the addresses set forth on the Proofs of Claim filed
                                     by such Holders, (b) at the addresses set forth in any written
                                     notices of address changes delivered to the Debtor after the date
                                     of any related Proof of Claim, (c) at the addresses reflected in
                                     the Schedules if no Proof of Claim has been filed and the Debtor
                                     has not received a written notice of a change of address, (d) at
           Delivery of               the addresses set forth in the other records of the Debtor at the
    7.10.a Distributions in          time of the Distribution or (e) in the case of the Holder of a Claim
           General                   that is governed by an agreement and is administered by an agent
                                     or servicer, at the addresses contained in the official records of
                                     such agent or servicer. Distributions shall be made in accordance
                                     with the terms of this Plan. In making Distributions under this
                                     Plan, the Debtor may rely upon the accuracy of the claims
                                     register maintained in the Chapter 11 Case, as modified by any
                                     Final Order of the Bankruptcy Court allowing or disallowing
                                     Claims in whole or in part.
                                     If the Distribution to any Holder of an Allowed Claim is made
                                     in accordance with this Plan and is returned to the Debtor as
                                     undeliverable or is otherwise unclaimed within sixty (60) days
                                     following such Distribution, such Distribution may be cancelled
                                     and the Debtor and/or Reorganized Debtor shall be relieved of
                                     any and all obligations to make further Distributions to such
                                     Holder. Any Holder of an Allowed Claim that does not timely
           Undeliverable and         negotiate any payment made pursuant to this Plan shall be
    7.10.b Unclaimed                 deemed to have forfeited its Claim and shall be forever barred
           Distributions             and enjoined from asserting any such Claim for an undeliverable
                                     or unclaimed Distribution against the Debtor and its Estate, and
                                     its agents, attorneys, representatives, employees or independent
                                     contractors, and/or any of its property. In such cases, any Cash
                                     otherwise reserved for undeliverable or unclaimed Distributions
                                     shall become property of the Debtor, free of any restrictions
                                     thereon, and notwithstanding any federal or state escheat laws to
                                     the contrary. Nothing contained in this Plan shall require the

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  To the extent Confirmation occurs pursuant to § 1191(b) of the Bankruptcy Code, Distributions as provided above
shall be made by the SubChapter V Trustee from Estate property as provided in § 1191(b).




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                                     Debtor to attempt to locate any Holder of an Allowed Claim;
                                     provided, however, that in its sole discretion, the Debtor may
                                     take such other action as the Debtor deems appropriate to locate
                                     Holders of Allowed Claims.
                                     Except as otherwise expressly provided in this Plan or the
                                     Confirmation Order, the Debtor and/or Reorganized Debtor shall
    7.11      Prepayment             have the right to prepay, without penalty, all, or any portion of
                                     an Allowed Claim, at any time.
                                     Cash payments made pursuant to this Plan shall be in U.S.
                                     dollars and shall be made on, and after the Effective Date, at the
                                     option and in the sole discretion of the Debtor and/or the
              Means of Cash          Reorganized Debtor by (i) checks drawn on or (ii) wire transfers
              Payment                from a domestic bank selected by the Debtor. In the case of
    7.12
              Assuming a             foreign creditors, Cash payments may be made, at the option of
              Consensual Plan5       the Debtor and/or Reorganized Debtor, in such funds and by
                                     such means as are necessary or customary in a particular
                                     jurisdiction.
                                     Unless otherwise specifically provided for in this Plan or the
                                     Confirmation Order, post-petition interest shall not accrue or be
                                     paid on any Claim, and no Holder of an Allowed Claim shall be
                                     entitled to interest accruing on or after the Petition Date on any
    7.13      Interest on Claims     Claim. Unless otherwise specifically provided for in this Plan or
                                     the Confirmation Order or the interest shall not accrue or be paid
                                     upon any Disputed Claim in respect of the period from the
                                     Petition Date to the date a final Distribution is made thereon if
                                     and after such Disputed Claim becomes an Allowed Claim.
                                     In connection with the Plan and all Distributions under this Plan,
                                     the Debtor and/or the Reorganized Debtor shall, to the extent
                                     applicable, comply with all tax withholding, payment, and
                                     reporting requirements imposed by any federal, state, provincial,
              Withholding and        local, or foreign taxing authority, and all Distributions under this
    7.14      Reporting              Plan shall be subject to any such withholding, payment, and
              Requirements           reporting requirements. The Debtor shall be authorized to take
                                     any and all actions that may be necessary or appropriate to
                                     comply with such withholding, payment, and reporting
                                     requirements. All amounts properly withheld from Distributions
                                     to a Holder as required by applicable law and paid over to the

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  To the extent Confirmation occurs pursuant to § 1191(b) of the Bankruptcy Code, Distributions as provided above
shall be made by the SubChapter V Trustee from Estate property as provided in § 1191(b).




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                                  applicable taxing authority for the account of such Holder shall
                                  be treated as part of the Distributions to such Holder. All Entities
                                  holding Claims shall be required to provide any information
                                  necessary to effect information reporting and withholding of
                                  such taxes. For example, with respect to any employee-related
                                  withholding, if the Debtor is obligated by law to withhold
                                  amounts from Distributions to a present or former employee to
                                  satisfy such present or former employee’s tax and other payroll
                                  obligations, the Debtor may withhold a portion of the
                                  Distributions allocated to the Holder of an Allowed Claim that
                                  is a present or former employee, whether or not such
                                  Distributions are in the form of Cash, in such amount as is
                                  determined necessary to satisfy such Holder’s tax and other
                                  payroll obligations with respect to the Distributions.
                                  Notwithstanding the foregoing or any other provision of this
                                  Plan, (a) each Holder of an Allowed Claim that is to receive a
                                  Distribution pursuant to this Plan shall have sole and exclusive
                                  responsibility for the satisfaction and payment of any tax
                                  obligations imposed by any governmental unit, including
                                  income, withholding, and other tax obligations, on account of
                                  such Distribution, and (b) no Distribution shall be made to or on
                                  behalf of such Holder pursuant to this Plan unless and until such
                                  Holder has made arrangements satisfactory to the Debtor for the
                                  payment and satisfaction of such withholding tax obligations or
                                  such tax obligation that would be imposed upon the Debtor in
                                  connection with such Distribution. Any property to be
                                  distributed pursuant to this Plan shall, pending the
                                  implementation of such arrangements, be treated as an
                                  undeliverable Distribution pursuant to Section 7.10 of the Plan.
                                  Except as otherwise provided in this Plan, the Debtor and/or the
                                  Reorganized Debtor may, pursuant to Bankruptcy Code §§ 553,
                                  558, or applicable nonbankruptcy laws, but shall not be required
                                  to, set off against any Claim, and the payments or other
                                  Distributions to be made pursuant to this Plan in respect of such
 7.15       Setoffs               Claim, Claims of any nature whatsoever that the Debtor may
                                  have against the Holder of such Claim; provided, however, that
                                  neither the failure to do so nor the allowance of any Claim
                                  hereunder shall constitute a waiver or release by the Debtor of
                                  any such Claim that the Debtor may have against such Holder.
                                  Unless otherwise stipulated in writing by the Debtor and/or
 7.15.a By Non-Debtors            Reorganized Debtor, or asserted pursuant to a timely filed Proof
                                  of Claim or as expressly provided for by the terms of the



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                                  agreement underlying any timely filed Proof of Claim, any party
                                  against whom a claim or counterclaim is asserted by the Estate
                                  (an “Estate Claim”) must assert or must have asserted any setoff
                                  rights, right of subrogation, or recoupment of any kind against
                                  such Estate Claim at the time it answers such Estate Claim, or
                                  such right of setoff, subrogation or recoupment will be deemed
                                  waived and forever barred.
                                  Procedure for Treating and Resolving Disputed, Contingent,
 7.16                             and/or Unliquidated Claims
                                  Notwithstanding any other provision of this Plan, no payments
                                  or Distributions shall be made with respect to all or any portion
                                  of a Disputed Claim unless and until all objections to such
                                  Disputed Claim have been settled or withdrawn or have been
                                  determined by Final Order, and the Disputed Claim, or some
        No Distributions          portion thereof, has become an Allowed Claim; provided,
 7.16.a on Disputed               however, that if the only dispute regarding a Disputed Claim is
        Claims                    to the amount of the Disputed Claim, the Holder of a Disputed
                                  Claim shall be entitled to a Distribution on account of that
                                  portion of the Disputed Claim which the Debtor does not dispute
                                  at the time and in the manner that the Debtor makes Distributions
                                  to Holders of Allowed Claims pursuant to the provisions of this
                                  Plan.
                                  Payments and Distributions to each respective Claimholder on
                                  account of a Disputed Claim, to the extent that it ultimately
                                  becomes an Allowed Claim, shall be made in accordance with
                                  provisions of this Plan that govern Distributions to such Holders.
                                  Except as otherwise provided in this Plan, on the earlier of (a)
                                  the Distribution Date following the date when a Disputed Claim
                                  becomes an Allowed Claim or (b) ninety (90) days after such
                                  Disputed Claim becomes an Allowed Claim, the Debtor will
            Distributions on      distribute to the Holder any Cash from that would have been
 7.16.b                           distributed on the dates Distributions were previously made to
            Allowed Claims
                                  Holders had such Allowed Claim been an Allowed Claim on
                                  such dates. All Distributions made under this Article of this Plan
                                  on account of an Allowed Claim will be made together with any
                                  dividends, payments, or other Distributions made on account of,
                                  as well as any obligations arising from, the distributed property
                                  as if such Allowed Claim had been an Allowed Claim on the
                                  dates Distributions were previously made to Holders of Allowed
                                  Claims included in the applicable Class.
 7.16.c De Minimis                Except as otherwise expressly provided in this Plan, the Debtor



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            Distributions          shall not have any obligation to make a Distribution on account
                                   of an Allowed Claim if the amount to be distributed to the
                                   specific Holder of the Allowed Claim does not constitute a final
                                   Distribution to such Holder and such Distribution has a value
                                   less than $10.00.
                                   Any other provision of this Plan notwithstanding, the Debtor
                                   shall not be required to make Distributions or payments of
                                   fractions of dollars. Whenever any payment of a fraction of a
 7.17       Fractional Dollars     dollar under this Plan would otherwise be called for, the actual
                                   payment shall reflect a rounding of such fraction to the nearest
                                   whole dollar (up or down), with half dollars being rounded
                                   down.
                                   The Debtor will have no obligation to recognize the transfer of
                                   or sale of any Claim or any participation in any Claim, that
                                   occurs after the Confirmation Date, and will be entitled for all
            Distribution           purposes herein to recognize, deal with and distribute only to
 7.18                              those Holders of Allowed Claims who are record Holders of
            Record Date
                                   such Claims, or participants therein, as of the close of business
                                   on the Confirmation Date, as stated on the official claims
                                   register.


         Article 8: General Provision


                               The definitions and rules of construction set forth in §§ 101, 1182,
                               and 102 of the Code shall apply when terms defined or construed in
                               the Code are used in this Plan, and they are supplemented by the
                               following definitions:


                               1.1.Administrative Claim and/or Administrative Expense Claim
           Definitions and         mean a Claim, other than a Fee Claim for costs and expenses of
 8.01      Rules of                administration of this Chapter 11 Case under Bankruptcy Code
           Construction            §§ 503(b), 507(b), or 1114(e)(2), and entitled to priority under
                                   Bankruptcy Code § 507(a)(2), including: (a) any actual and
                                   necessary costs and expenses, incurred after the Petition Date, of
                                   preserving the Estate and operating the business of the Debtor;
                                   and (b) all other claims entitled to administrative claim status
                                   pursuant to a Final Order of the Bankruptcy Court.
                               1.2.Administrative Claims Bar Date means the first Business Day



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                                  that is thirty (30) days following the Effective Date.
                               1.3.Allowed Claim means a Claim or any portion thereof (a) that has
                                   been allowed by a Final Order of the Bankruptcy Court, (b) that
                                   either (x) has been Scheduled as a liquidated, non-contingent, and
                                   undisputed Claim in an amount greater than zero on the
                                   Schedules, or (y) is the subject of a timely filed Proof of Claim
                                   as to which either (i) no objection to its allowance has been filed
                                   (either by way of objection or amendment to the Schedules)
                                   within the periods of limitation fixed by the Bankruptcy Code or
                                   by any order of the Bankruptcy Court or (ii) any objection to its
                                   allowance has been settled, waived through payment, or
                                   withdrawn, or has been denied by a Final Order, or (c) that is
                                   expressly allowed in a liquidated amount in this Plan; provided,
                                   however, that with respect to an Administrative Claim, “Allowed
                                   Claim” means an Administrative Claim as to which a timely
                                   written request for payment has been made in accordance with
                                   applicable bar dates for such requests set by the Bankruptcy
                                   Court (if such written request is required) in each case as to which
                                   the Debtor, or any other party in interest (x) has not interposed a
                                   timely objection or (y) has interposed a timely objection and such
                                   objection has been settled, waived through payment, or
                                   withdrawn, or has been denied by a Final Order; provided,
                                   further, however, that for purposes of determining the status (i.e.,
                                   Allowed or Disputed) of a particular Claim prior to the expiration
                                   of the period as may be fixed for filing objections to the
                                   allowance or disallowance of Claims, any such Claim which has
                                   not been previously allowed or disallowed by a Final Order of the
                                   Bankruptcy Court or this Plan shall be deemed a Disputed Claim
                                   unless such Claim is specifically identified by the Debtor as being
                                   an Allowed Claim.
                               1.8.Assets means all tangible and intangible assets of every kind and
                                   nature of the Debtor and its Estate, and all proceeds thereof,
                                   existing as of the Effective Date.
                               1.9.Avoidance Actions means Causes of Action arising under
                                   Bankruptcy Code §§ 510, 541, 542, 544, 545, 547 through 551
                                   and/or 553, or under related state or federal statutes and common
                                   law, including, without limitation, fraudulent transfer laws,
                                   whether or not litigation is commenced to prosecute such Causes
                                   of Action.
                               1.10. Ballot means each of the ballot forms distributed to each
                                   Holder of a Claim or Interest entitled to vote to accept or reject



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                                  this Plan.
                               1.11. Bankruptcy Case means the case under Chapter 11 of the
                                   Bankruptcy Code commenced by the Debtor in the Bankruptcy
                                   Court and referenced as Chapter 11 case number 20-31408.
                               1.12. Bankruptcy Code and/or Code means Title 11 of the United
                                   States Code, as now in effect or hereafter amended and as
                                   applicable to the Chapter 11 Case.
                               1.13. Bankruptcy Court and/or Court means the United States
                                   Bankruptcy Court for the Eastern District of Virginia, or any
                                   other court with jurisdiction over the Chapter 11 Case.
                               1.14. Bankruptcy Rules means, collectively, the Federal Rules of
                                   Bankruptcy Procedure and the Official Bankruptcy Forms, as
                                   amended, the Federal Rules of Civil Procedure, as amended, and
                                   as applicable to this Chapter 11 Case or proceedings therein, as
                                   the case may be, and the Local Rules, as now in effect or hereafter
                                   amended.
                               1.15. Business Day means any day, other than a Saturday, Sunday,
                                   or Legal Holiday (as defined in Bankruptcy Rule 9006(a)).
                               1.16. Cash means legal tender of the United States of America and
                                   equivalents thereof, which may be conveyed by check or wire
                                   transfer.
                               1.17. Capital Expenditure Reserve means an amount not greater
                                   than $15,000.00.
                               1.18. City of Richmond DPU means the City of Richmond
                                   Department of Public Utilities.
                               1.19.    Claim means as set forth in Bankruptcy Code § 101(5).
                               1.20. Claims Bar Date means the bar date for filing Proofs of
                                   Claim for Claims arising prior to the Petition Date against the
                                   Debtor, which date is July 13, 2020, with respect to Claims of
                                   Non-Governmental Units and which date is September 8, 2020,
                                   with respect to Claims of Governmental Units.
                               1.21. Class means a category of Holders of Claims or Interests, as
                                   described in Article 2 hereof.
                               1.22. Collateral means any property or interest in property of the
                                   Debtor’s Estate subject to a Lien to secure the payment or




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                                  performance of a Claim.
                               1.23. Confirmation means entry by the Bankruptcy Court of the
                                   Confirmation Order.
                               1.24. Confirmation Date means the last date on which the Clerk of
                                   the Bankruptcy Court enters the Confirmation Order on the
                                   Bankruptcy Court docket in this Chapter 11 Case.
                               1.25. Confirmation Hearing means the hearing held by the
                                   Bankruptcy Court to consider Confirmation of this Plan as such
                                   hearing may be adjourned or continued from time to time.
                               1.26. Confirmation Order means the order entered by the
                                   Bankruptcy Court Confirming this Plan under Bankruptcy Code
                                   §§ 1129 and 1191 in the Chapter 11 Case.
                               1.27. Consummation or Consummate means the occurrence of, or
                                   to achieve, the Effective Date.
                               1.28. Contingent means, with reference to a Claim, a Claim that
                                   has not accrued or is not otherwise payable and the accrual of
                                   which, or the obligation to make payment on which, is dependent
                                   upon a future event that may or may not occur.
                               1.29. Creditor means any Entity that holds a Claim against the
                                   Debtor.
                               1.30.    Debtor means Gemini Realty, LLC.
                               1.31. Disallowed means, with respect to a Claim, or any portion
                                   thereof, that such Claim (a) has been disallowed by a Final Order,
                                   (b) is Scheduled at zero or as contingent, disputed or unliquidated
                                   and as to which no Proof of Claim has been filed by the applicable
                                   Claims Bar Date or deemed timely filed pursuant to either the
                                   Bankruptcy Code or any Final Order or under applicable law, or
                                   (c) is not Scheduled, and as to which (i) no Proof of Claim has
                                   been filed by the applicable Claims Bar Date or deemed timely
                                   filed pursuant to either the Bankruptcy Code or any Final Order
                                   or under applicable law, or (ii) no request for payment of an
                                   Administrative Claim has been filed by the Administrative
                                   Claims Bar Date, as appropriate, or deemed timely filed pursuant
                                   to either the Bankruptcy Code or any Final Order or under
                                   applicable law.
                               1.32. Disposable Income means as defined at § 1191 and as
                                   specifically applied herein - annual net income less amounts for



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                                  payment of reasonable overhead, reasonable operating costs, a
                                  tax reserve, the Operating Reserve and the Capital Expenditure
                                  Reserve.
                               1.33. Distribution means any distribution pursuant to this Plan to
                                   the Holders of Allowed Claims.
                               1.34. Distribution Amount means the yearly amount available for
                                   payments under the Plan for Classes 3 through 6, which is
                                   Disposable Income less amounts for payment of Allowed Fee
                                   Claims and Allowed Administrative Claims.
                               1.35. Distribution Date means either the Initial Distribution Date
                                   or the date on which any subsequent yearly Distribution occurs.
                               1.36. Effective Date means the Business Day this Plan becomes
                                   effective as provided in Article 8.02 hereof.
                               1.37. Entity has the meaning set forth in Bankruptcy Code §
                                   101(15).
                               1.38. Estate means the estate of the Debtor created under
                                   Bankruptcy Code § 541 as modified in § 1186.
                               1.39.    Exhibit means an exhibit annexed to this Plan.
                               1.40. Fee Claim means a Claim of a Professional for compensation
                                   or reimbursement of costs and expenses relating to services
                                   incurred after the Petition Date and prior to and including the
                                   Effective Date including amounts owed to Tavenner & Beran and
                                   the SubChapter V Trustee.
                               1.41. Final Decree means the decree contemplated under
                                   Bankruptcy Rule 3022.
                               1.42. Final Distribution Date means the date on which the Debtor
                                   has completed the Distributions of Distribution Amounts under
                                   the Plan, which date shall be within three (3) years of the
                                   Effective Date.
                               1.43. Final Fee Applications means the final requests for payment
                                   of Fee Claims.
                               1.44. Final Order means an order or judgment of the Bankruptcy
                                   Court, or other court of competent jurisdiction, as entered on the
                                   docket in the Chapter 11 Case, the operation or effect of which
                                   has not been stayed, reversed, or amended and as to which order
                                   or judgment (or any revision, modification, or amendment


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                                  thereof) the time to appeal pursuant to Bankruptcy Rule 8002 or
                                  seek review or rehearing pursuant to Bankruptcy Rule 9023 has
                                  expired and as to which no appeal or petition for review or
                                  rehearing was filed or, if filed, remains pending.
                               1.45. General Unsecured Claim means a Claim that is not an
                                   Administrative Claim, a Secured Claim, a Priority Tax Claim, or
                                   a Non-Tax Priority Claim.
                               1.46. Governmental Unit has the meaning set forth in Bankruptcy
                                   Code § 101(27).
                               1.47. Henrico County means the County of Henrico Department of
                                   Finance.
                               1.48.    Holder means an Entity holding a Claim or Interest.
                               1.49. Impaired means, when used in reference to a Claim, Interest,
                                   or Class, a Claim, Interest, or Class that is impaired within the
                                   meaning of Bankruptcy Code § 1124 of the Bankruptcy Code.
                               1.50. Initial Distribution Date means the Effective Date or as soon
                                   thereafter as may be reasonably practicable, but in any event no
                                   later than the fifth (5th) Business Day following the Effective
                                   Date.
                               1.51.    Insider means as set forth in the Bankruptcy Code § 101(31).
                               1.52. Interests and/or Equity Interests mean the legal, equitable,
                                   contractual, and other rights of any Entity with respect to any
                                   capital stock, membership interest or other ownership interest in
                                   the Debtor and/or Reorganized Debtor, whether or not
                                   transferable, and all options, warrants, call rights, puts, awards,
                                   or rights or agreements to purchase, sell, or subscribe for an
                                   ownership interest or other equity security in the Debtor and/or
                                   Reorganized Debtor.
                               1.53. Local Rules means the Local Rules of Bankruptcy Practice
                                   and Procedure of the United States Bankruptcy Court for the
                                   Eastern District of Virginia as now in effect a hereafter amended.
                               1.54. Mr. Cooper means Nationstar Mortgage LLC, d/b/a Mr.
                                   Cooper.
                               1.55.    Ms. Smith means Jevette Smith.
                               1.56. Non-Tax Priority Claim means a Claim, other than a Priority
                                   Tax Claim, which is entitled to priority in payment pursuant to


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                                  Bankruptcy Code § 507(a).
                               1.57. Operating Reserve means a cash reserve of not greater than
                                   $5,000.00.
                               1.58.    Petition Date means March 12, 2020.
                               1.59.    Prasad Associates means Prasad Associates, Inc.
                               1.60. Prasad Associates Payment means a payment of
                                   $255,000.00 within 120 days of the Effective Date in full
                                   satisfaction of any and all claims of Prasad Associates.
                               1.61. Prasad Associates Pocket Deed means a deed conveying the
                                   real property located at 10613 Sherwin Place, Glen Allen,
                                   Virginia 23059 to Prasad Associates.
                               1.62. Prasad Associates Release means a release of any and all
                                   claims that the Debtor has or may have against Prasad Associates
                                   and any current or former director, officer, agent, representative,
                                   attorney, accountant, financial advisor or other professional of
                                   Prasad Associates, but only in such party’s capacity as such.
                               1.63.    Pre-Petition means any time before the Petition Date.
                               1.64. Pre-Petition Loan Documents means any and all documents
                                   signed by the Debtor in connection with the granting of a deed a
                                   trust on real property.
                               1.65. Professional means any professional employed in the
                                   Chapter 11 Case pursuant to §§ 327, 328, or 1103 of the
                                   Bankruptcy Code, and/or the SubChapter V Trustee.
                               1.66. Proof of Claim means any document filed pursuant to
                                   Bankruptcy Code § 501(a).
                               1.67. Prime Rate means the rate of interest published in the Wall
                                   Street Journal from time to time as its U.S. or United States prime
                                   or base rate.
                               1.68. Priority Tax Claims means a Claim that is entitled to priority
                                   under Bankruptcy Code § 507(a)(8).
                               1.69. Reagan Property means real property located at 1902 Reagan
                                   Road, Henrico, Virginia 23231.
                               1.70. Released Party means the Debtor and any current or former
                                   director, officer, agent, representative, attorney, accountant,



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                                   financial advisor or other professional of the Debtor, but only in
                                   such party’s capacity as such, and only if, in each case, such party
                                   served in such capacity on or after the Petition Date and the
                                   SubChapter V Trustee.
                               1.71. Reorganized Debtor means the Debtor after the Effective
                                   Date.
                               1.72. Schedules means the schedules of assets and liabilities, the
                                   list of Holders of Interests, and the statements of financial affairs
                                   filed by the Debtor pursuant to Bankruptcy Code § 521 and the
                                   Bankruptcy Rules, as such schedules have been or may be further
                                   modified, amended or supplemented in accordance with
                                   Bankruptcy Rule 1009 or orders of the Bankruptcy Court.
                               1.73. Secured Claim means a Claim that is secured by Collateral
                                   owned by the Debtor, subject to § 506(a) of the Bankruptcy Code.
                               1.74. Sherwin Property means the real property and improvements
                                   thereon located at 10613 Sherwin Place, Glen Allen, Virginia
                                   23059.
                               1.75. SubChapter V Trustee means the trustee appointed pursuant
                                   to § 1183, and in particular, Peter J. Barrett.
                               1.76. Tax Claim means all or that portion of a Claim held by a
                                   Governmental Unit for a tax assessed or assessable against the
                                   Debtor, including income and employment taxes and any related
                                   penalties or interest.
                               1.77. Taxes means any and all taxes, levies, imposts, assessments,
                                   or other charges of whatever nature imposed at any time by a
                                   Governmental Unit or by any political subdivision or taxing
                                   authority thereof or therein and all interest, penalties, or similar
                                   liabilities with respect thereto.
                               1.78. Tavenner & Beran means Tavenner & Beran, PLC,
                                   bankruptcy counsel to the Debtor.
                               1.79. Unclassified Claims means Fee Claims and Administrative
                                   Claims.
                               1.80. Unimpaired means, when used in reference to a Claim,
                                   Interest or Class, a Claim, Interest or Class that is not impaired
                                   within the meaning of Bankruptcy Code § 1124.
                               1.81.    U.S. Trustee means the Office of the United States Trustee



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                                   for the Eastern District of Virginia.
                               1.82. Zuriel means Zuriel, LLC, an entity that owns and operates
                                   adult group homes, which entity is owned by the husband of Ms.
                                   Smith.
                               The Effective Date of this Plan is the first Business Day following
                               the date that is 14 days after the entry of the Confirmation Order. If,
 8.02      Effective Date      however, a stay of the Confirmation Order is in effect on that date,
                               the Effective Date will be the first Business Day after the date on
                               which the stay expires or is otherwise terminated.
                               If any provision in this Plan is determined to be unenforceable, the
 8.03      Severability        determination will in no way limit or affect the enforceability and
                               operative effect of any other provision of this Plan.
                               The rights and obligations of any entity named or referred to in this
 8.04      Binding Effect      Plan will be binding upon and will inure to the benefit of the
                               successors or assigns of such entity.

 8.05      Captions            The headings contained in this Plan are for convenience of reference
                               only and do not affect the meaning or interpretation of this Plan.
                               Unless a rule of law or procedure is supplied by federal law
           Controlling         (including the Code or the Federal Rules of Bankruptcy Procedure),
 8.06                          the laws of the Commonwealth of Virginia govern this Plan and any
           Effect
                               agreements, documents, and instruments executed in connection with
                               this Plan, except as otherwise provided in this Plan.
                               The Reorganized Debtor will be managed by Ms. Smith.
                               Furthermore, there shall be a (a) prohibition of the issuance of
                               nonvoting equity securities, and (b) a mechanism providing, as to the
           Corporate           several classes of securities possessing voting power, an appropriate
 8.07                          distribution of such power among such classes, including, in the case
           Governance
                               of any class of equity securities having a preference over another
                               class of equity securities with respect to dividends, adequate
                               provisions for the election of directors representing such preferred
                               class in the event of default in the payment of such dividends.
                               Under Bankruptcy Code §§ 105(a) and 1142, and/or notwithstanding
                               entry of the Confirmation Order, substantial consummation of this
                               Plan and occurrence of the Effective Date, the Bankruptcy Court
           Retention of        shall retain jurisdiction over all matters arising out of, and related to,
 8.08
           Jurisdiction        the Chapter 11 Case and this Plan to the fullest extent permitted by
                               law, including, among other things, jurisdiction to:
                                       A.      Allow, disallow, determine, liquidate, classify,


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                               estimate or establish the priority or secured or unsecured status of
                               any Claim or Interest, including the resolution of any request for
                               payment of any Administrative Claim, the resolution of any
                               objections to the allowance or priority of Claims or Interests and the
                               determination of requests for the payment of claims entitled to
                               priority under Bankruptcy Code § 507(a)(1), including compensation
                               of any reimbursement of expenses of parties entitled thereto;
                                      B.       Hear and determine all applications for compensation
                               and reimbursement of expenses of Professionals under this Plan or
                               under Bankruptcy Code §§ 330, 331, 503(b), 1103, and 1129(a)(4);
                               provided, however, that from and after the Effective Date, the
                               payment of the fees and expenses of the retained Professionals of the
                               Debtor shall be made in the ordinary course of business and shall not
                               be subject to the approval of the Bankruptcy Court;
                                      C.      Hear and determine all matters with respect to the
                               assumption or rejection of any executory contract or unexpired lease
                               to which a Debtor is a party or with respect to which a Debtor may
                               be liable, and to hear, determine and, if necessary, liquidate any
                               Claims arising therefrom;
                                      D.      Effectuate performance of and payments under the
                               provisions of this Plan;
                                      E.       Hear and determine any and all adversary
                               proceedings, motions, applications, and contested or litigated matters
                               arising out of, under or related to the Chapter 11 Case, this Plan, or
                               any Plan Document;
                                      F.      Enter such orders as may be necessary or appropriate
                               to execute, implement, or consummate the provisions of this Plan and
                               all contracts, instruments, releases, and other agreements or
                               documents created in connection with this Plan or the Confirmation
                               Order;
                                      G.     Hear and determine disputes arising in connection
                               with the interpretation, implementation, consummation, or
                               enforcement of this Plan, including disputes arising under
                               agreements, documents or instruments executed in connection with
                               this Plan;
                                      H.      Consider any modifications of this Plan, cure any
                               defect or omission, or reconcile any inconsistency in any order of the
                               Bankruptcy Court, including, without limitation, the Confirmation
                               Order;



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                                      I.      Issue injunctions, enter and implement other orders or
                               take such other actions as may be necessary or appropriate to restrain
                               interference by any Entity with implementation, consummation, or
                               enforcement of this Plan or the Confirmation Order;
                                      J.      Enter and implement such orders as may be necessary
                               or appropriate if the Confirmation Order is for any reason reversed,
                               stayed, revoked, modified, or vacated;
                                      K.      Enforce all orders, judgments, injunctions, releases,
                               exculpations, indemnifications, and rulings entered in connection
                               with the Chapter 11 Case;
                                      L.      Except as otherwise limited herein, recover all Assets
                               of the Debtor and property of the Estate, wherever located;
                                     M.       Hear and determine matters concerning state, local,
                               and federal taxes in accordance with Bankruptcy Code §§ 346, 505,
                               and 1146;
                                      N.       Hear and determine all matters related to the property
                               of the Estate from and after the Confirmation Date;
                                       O.     Hear and determine any Causes of Action;
                                      P.      Hear and determine all disputes involving the
                               existence, nature, or scope of the injunctions, indemnification,
                               exculpation, and releases granted pursuant to this Plan;
                                      Q.       Hear and determine all matters related to the property
                               of the Estate from and after the Confirmation Date;
                                      R.      Hear and determine such other matters as may be
                               provided in the Confirmation Order or as may be authorized under,
                               or not inconsistent with, provisions of the Bankruptcy Code;
                                     S.     Enforce all orders previously entered by the
                               Bankruptcy Court;
                                       T.     Dismiss the Chapter 11 Case; and
                                       U.     Enter a final decree closing the Chapter 11 Case.




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         Article 9: Discharge


If the Debtor’s Plan is confirmed under § 1191(a), on the Effective Date of the Plan, the Debtor
will be discharged from any debt that arose before confirmation of this Plan, to the extent specified
in § 1141(d)(1)(A) of the Code, except that the Debtor will not be discharged of any debt:

         (i) imposed by this Plan; or

         (ii) to the extent provided in § 1141(d)(6).

If the Debtor’s Plan is confirmed under § 1191(b), confirmation of this Plan does not discharge
any debt provided for in this Plan until the Court grants a discharge on completion of all payments
due within the first 3 years of this Plan, or as otherwise provided in § 1192 of the Code. The Debtor
will not be discharged from any debt:

       (i) on which the last payment is due after the first 3 years of the plan, or as otherwise
provided in § 1192;

         or

        (ii) excepted from discharge under § 523(a) of the Code, except as provided in Rule 4007(c)
of the Federal Rules of Bankruptcy Procedure.

         Article 10: Other Provisions

                                  EXCEPT AS OTHERWISE PROVIDED IN THIS PLAN, THE
                                  CONFIRMATION ORDER SHALL PROVIDE, AMONG
                                  OTHER THINGS, THAT FROM AND AFTER THE
                                  EFFECTIVE DATE ALL ENTITIES WHO HAVE HELD,
                                  HOLD, OR MAY HOLD AS OF THE EFFECTIVE DATE
                                  CLAIMS AGAINST OR INTERESTS IN THE DEBTOR ARE
                                  PERMANENTLY ENJOINED FROM TAKING ANY OF
                                  THE FOLLOWING ACTIONS AGAINST THE DEBTOR,
  10.01         Injunction        ITS ESTATE, OR ANY OF THEIR PROPERTY ON
                                  ACCOUNT OF ANY SUCH CLAIMS OR INTERESTS: (A)
                                  COMMENCING OR CONTINUING, IN ANY MANNER OR
                                  IN ANY PLACE, ANY ACTION OR OTHER PROCEEDING;
                                  (B) ENFORCING, ATTACHING, COLLECTING, OR
                                  RECOVERING IN ANY MANNER ANY JUDGMENT,
                                  AWARD, DECREE, OR ORDER; (C) CREATING,
                                  PERFECTING, OR ENFORCING ANY LIEN OR
                                  ENCUMBRANCE; (D) ASSERTING A SETOFF, RIGHT OF


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                                  SUBROGATION, OR RECOUPMENT OF ANY KIND
                                  AGAINST ANY DEBT, LIABILITY, OR OBLIGATION DUE
                                  TO THE DEBTOR, AND (E) COMMENCING OR
                                  CONTINUING, IN ANY MANNER OR IN ANY PLACE, ANY
                                  ACTION THAT DOES NOT COMPLY WITH OR IS
                                  INCONSISTENT WITH THE PROVISIONS OF THIS PLAN;
                                  PROVIDED, HOWEVER, THAT NOTHING CONTAINED
                                  HEREIN SHALL PRECLUDE SUCH ENTITIES FROM
                                  EXERCISING THEIR RIGHTS PURSUANT TO AND
                                  CONSISTENT WITH THE TERMS OF THIS PLAN OR THE
                                  CONFIRMATION ORDER.

                                  Except as otherwise provided in this Plan or any contract,
                                  instrument, release, or other agreement or document entered into in
                                  connection with this Plan, any and all indemnification obligations
                                  that the Debtor has pursuant to a contract, instrument, agreement,
                                  certificate of incorporation, by-law, comparable organizational
                Indemnification   document or any other document, or applicable law, shall be
  10.02
                 Obligation       rejected as of the Effective Date, to the extent executory. Nothing
                                  in this Plan shall be deemed to release the Debtor’s insurers from
                                  any claims that might be asserted by counterparties to contracts or
                                  agreements providing the indemnification by and of the Debtor, to
                                  the extent of available coverage.

                                  Waiver of Claims and Interests. As of the Confirmation Date, but
                                  subject to the occurrence of the Effective Date, and except as
                                  otherwise expressly provided in the Confirmation Order or herein,
                                  all Persons who, directly or indirectly, have held, hold or may hold
                                  Claims against or Interests in the Debtor shall be deemed, by virtue
                                  of the Confirmation Order becoming a Final Order and receipt of
                                  distributions and/or other treatment contemplated under this Plan,
                                  to have forever covenanted with the Debtor and with each of the
                                  Released Parties to waive, release and not to sue, assert or otherwise
                Releases,
                                  seek any recovery from the Debtor or any Released Party (except
  10.03         Waivers, and
                                  for, in regard to the Released Parties, claims based upon actual
                Exculpation
                                  fraud, willful misconduct, or gross negligence), any obligation,
                                  right, cause of action or liability, whether based in or upon tort,
                                  contract, violations of federal or state laws, or otherwise, whether
                                  known or unknown, foreseen or unforeseen, existing or hereafter
                                  arising, based in whole or in part upon any act or omission,
                                  transactions or occurrence taking place prior to the Effective Date
                                  that gives rise to the Claims or Interests or that relates in any way
                                  to the Debtor, the Case, or this Plan.




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                                  The Debtor hereby waives, releases and discharges all Released
                                  Parties from any Claim, except for Claims based upon actual fraud,
                                  willful misconduct, or gross negligence, arising from the Petition
                                  Date through the Effective Date related to such party’s acts or
                                  omissions to act (including, but not limited to, any claims arising
                                  out of any alleged fiduciary or other duty) as an officer, director,
 10.03.a        Debtor Releases   employee, agent, representative, attorney, accountant, financial
                                  advisor or other professional of the Debtor, in that capacity. Any
                                  such release shall additionally act as an injunction against any
                                  claimant or equity interest holder of the Debtor commencing or
                                  continuing any action, employment of process or act to collect,
                                  offset or recover any claim that is so released.

                                  The Released Parties (collectively, the “Exculpated Parties”) shall
                                  not have or incur any liability to any Person for any act taken or
                                  omission in connection with, related to or arising out of the Case,
                                  including but not limited to (i) formulating, preparing,
                                  disseminating, implementing, confirming, consummating or
                                  administering this Plan (including soliciting acceptances or
                                  rejections thereof if necessary); (ii) any contract, instrument, release
                                  or other agreement or document entered into or any action taken or
                                  not taken in connection with this Plan; or (iii) any Distributions
 10.03.b Exculpation
                                  made pursuant to this Plan, except for acts constituting actual fraud,
                                  willful misconduct, or gross negligence, and in all respects such
                                  parties shall be entitled to rely upon the advice of counsel with
                                  respect to their duties and responsibilities under this Plan. The
                                  Exculpated Parties have, and upon closing of the Case or the
                                  Effective Date shall be deemed to have, participated in good faith
                                  with regard to their efforts in connection with the Plan and
                                  distributions made pursuant to the Plan.

                Modifications     The Debtor may alter, amend, or modify this Plan or any Exhibits
  10.04         and               thereto as provided under Bankruptcy Code § 1193.
                Amendments
                                  If, prior to Confirmation, any term or provision of this Plan is held
                                  by the Bankruptcy Court to be invalid, void, or unenforceable, then
                                  the Bankruptcy Court, at the request of the Debtor shall have the
                                  power to alter and interpret such term or provision to make it valid
                Severability of   or enforceable to the maximum extent practicable, consistent with
  10.05
                Plan Provisions   the original purpose of the term or provision held to be invalid, void,
                                  or unenforceable, and such term or provision shall then be
                                  applicable as altered or interpreted. Notwithstanding any such
                                  holding, alteration or interpretation, the remainder of the terms and
                                  provisions of this Plan shall remain in full force and effect and shall



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                                  in no way be affected, impaired, or invalidated by such holding,
                                  alteration, or interpretation. The Confirmation Order shall
                                  constitute a judicial determination and shall provide that each term
                                  and provision of this Plan, as it may have been altered or interpreted
                                  in accordance with the foregoing, is valid and enforceable pursuant
                                  to its terms.

                                  The rights, benefits and obligations of any Entity named or referred
                Successors and
                                  to in this Plan shall be binding on, and shall inure to the benefit of,
  10.06         Assigns
                                  any heir, executor, administrator, successor, or assign of that Entity.

  10.07         [Reserved]
                                  Any notice, request, or demand required or permitted to be made or
                                  provided to or upon the Debtor and/or Reorganized Debtor under
                                  this Plan shall be (a) in writing, (b) served by (i) certified mail,
                                  return receipt requested, (ii) hand delivery, (iii) overnight delivery
                                  service, (iv) first class mail, or (v) email, (c) deemed to have been
                                  duly given or made when actually delivered or, in the case of notice
                                  by facsimile transmission, when received and telephonically
                                  confirmed, and (d) addressed as follows:

                                  The Debtor and/or Reorganized Debtor:
                                  c/o Jevette Smith
                                  10613 Sherwin Place
                Service of
  10.08                           Glen Allen, Virginia 23059
                Documents
                                  jevettesmith@gmail.com

                                  With Copy to:

                                  Paula S. Beran, Esq.
                                  Tavenner & Beran, PLC
                                  20 North Eighth Street, Second Floor
                                  Richmond, VA 23219
                                  Tel: 804-783-8300
                                  Fax: 804-783-0178
                                  pberan@tb-lawfirm.com

                                  Exhibits to this Plan not attached hereto shall be filed in one or more
                                  Plan Supplements. Any Plan Supplement (and amendments thereto)
                Plan              filed by the Debtor shall be deemed an integral part of this Plan and
  10.09         Supplement(s)     shall be incorporated by reference as if fully set forth herein.
                                  Substantially contemporaneously with their filing, the Plan
                                  Supplements may be viewed at the office of the clerk of the



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                                    Bankruptcy Court or its designee during normal business hours, by
                                    visiting the Bankruptcy Court’s website at www.vaeb.uscourts.gov
                                    (PACER account required). Holders of Claims and/or Interests may
                                    obtain a copy of any Plan Supplements upon reasonable written
                                    request to the Debtor.

                                    Any and all Plan Exhibits, or other lists or schedules not filed with
                                    this Plan shall be filed with the Clerk of the Bankruptcy Court. Upon
                                    such filing, such documents may be inspected in the office of the
                                    Clerk of the Bankruptcy Court during normal court hours. Holders
  10.10         Plan Exhibits
                                    of Claims or Interests may obtain a copy of any such document upon
                                    written request to the Debtor in accordance with Article 10.08 of
                                    this Plan.

                               The Debtor is hereby authorized to request an expedited
                Tax Reporting determination under Bankruptcy Code § 505(b) of the tax liability
  10.11         and Compliance of the Debtor for all taxable periods ending after the Petition Date
                               through and including the Effective Date.

                                    On or before substantial consummation of this Plan, the Debtor shall
                Filing of           file such agreements and other documents as may be necessary or
  10.12         Additional          appropriate to effectuate and further evidence the terms and
                Documents           conditions of this Plan.

                                  Unless otherwise agreed, no default shall be declared under the Plan
                                  unless any payment or performance due under the Plan (other than
                                  a payment required on the Effective Date) shall not have been made
                                  or deemed made fifteen (15) days after written notice of the default
                                  is received by the Debtor/Reorganized Debtor pursuant to Article
                Notice of Default 10.8. Any notice of default shall (a) conspicuously state that it is a
  10.13
                under the Plan    notice of default; (b) describe with particularity the nature of the
                                  default, including a reference to the specific provisions of the Plan
                                  as to which a default or defaults have allegedly occurred; and (c)
                                  describe any action required to cure the default, including the exact
                                  amount of any payment required to cure such default, if applicable.

                                    If the Reorganized Debtor fails to (a) make the Prasad Associates
                                    Payment and (b) cure said default within fifteen (15) days of written
                                    notice, the Prasad Associates Pocket Deed may, at the option of
                Default under       Prasad Associates, and without further order from the Court, be
  10.14
                the Plan            recorded in the land records of Henrico County.

                                    If the Debtor fails to (a) make any payment under this Plan other
                                    than the Prasad Associates Payment and (b) cure said default within



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                                    fifteen (15) days of written notice, the Debtor shall immediately
                                    proceed to sell the Reagan Property by listing the Reagan Property
                                    for sale. Upon sale of the Reagan Property, and payment of all (y)
                                    Secured Claims including but not limited to Mr. Cooper and (z)
                                    related closing costs, any remaining proceeds shall be paid in pro
                                    rata amounts to the Classes herein according to the priorities of the
                                    Bankruptcy Code.

                                    If the Plan is confirmed under § 1191(a) of the Bankruptcy Code,
                                    the service of the SubChapter V Trustee in the Case shall terminate
                Termination of      when the Plan has been substantially consummated, except that the
  10.15         SubChapter V        United States Trustee may reappoint a subchapter V trustee as
                Trustee             needed for performance of duties under subsection §§
                                    1191(b)(3)(C) and 1185(a) of the Bankruptcy Code.

                                    Not later than fourteen (14) days after the Plan is substantially
                Service of Notice
                                    consummated, the Debtor shall file with the Court and serve on the
                of Substantial
  10.16                             SubChapter V Trustee, the United States Trustee, and all parties in
                Consummation
                                    interest notice of such substantial consummation.



    Respectfully submitted,

/s/ Jevette Marie Smith                       Jevette Marie Smith
                                              Jevette Marie Smith
                                              Sole Member of Gemini Realty
                                              LLC


/s/ Paula S. Beran                            Paula S. Beran
                                              Lynn L. Tavenner, Esquire (Va. Bar No. 30083)
                                              Paula S. Beran, Esquire (Va. Bar No. 34679)
                                              David N. Tabakin, Esquire (Va. Bar No. 82709)
                                              Tavenner & Beran, PLC
                                              20 North Eighth Street, Second Floor
                                              Richmond, Virginia 23219
                                              Telephone: (804) 783-8300
                                              Telecopy: (804) 783-0178

                                                     Counsel for the Debtor




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                                 EXHIBIT A
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                                                                                      Liquidation                           Asserted
                                                                      Value on        Value as of          Potential        Secured
                            Asset                                   Petition Date    June 10, 20201         Equity          Claims2
Cash on Hand                                                       $       200.00    $             -   $           -    $          -
Atlantic Union Bank Small Business Checking Account
ending in 6546                                                     $      41.93          Closed        $          -     $        -
Security Deposit with Dominion Energy Virginia                     $     400.00      $       400.00    $       200.00   $        -
Prepaid Henrico County Taxes                                       $   4,100.00      $          -      $          -     $        -
Prepaid Traveler’s Insurance                                       $   1,077.00      $          -      $          -     $        -
Accounts Receivable                                                $        -        $          -      $          -     $        -
10613 Sherwin Place, Glen Allen, Virginia 23059                    $ 350,000.00      $   270,000.00    $          -     $ 297,956.12
1902 Reagan Road, Richmond, Virginia 23228                         $ 275,000.00      $   210,375.00    $          -     $ 211,366.51

Potential Cause of Action Against Prasad Associates, Inc.
and/or its agents (neither client nor bankruptcy counsel have
analyzed the merit of said claims, and inclusion of said claims
is for disclosure purposes only).3                              Unknown              $          -      $          -     $        -
Total                                                           $ 630,818.93         $   480,775.00    $       200.00   $ 509,322.63
1
    The Liquidation Value is based on an estiamte of auction sale less 10 percent closing costs.
2
    Claims known as of June 10, 2020.
3
 The Debtor believes it has a settlement in concept with Prasad Associates such that claims, if any, against Prasad Associates will be
waived/released.
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                                 EXHIBIT B
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 Prepared By:                             Company Name:
 Jevette Smith                            Gemini Realty LLC

                                              2020 Annualized       2021 Annualized     2020 Annualized
           Operating Expenses                     Amount                Amount              Amount

 Insurance                                         $1,680.00           $2,820.00            $2,820.00
 Legal and Accounting                              $2,000.00           $2,000.00            $2,000.00
 Licenses                                           $240.00             $240.00              $240.00
 Taxes                                                                 $5,300.00            $5,565.00
 Mortgages                                       $48,000.00            $48,000.00          $48,000.00
 Utility Deposits                                                        200.00
 TOTAL                                           $51,920.00            $58,560.00          $58,625.00

ONE TIME EXPENSES

Gemini Realty will have expenses associated with the refinance of the Sherwin Property as well as certain
payments under the Plan such as 2020 taxes, judgments, closing costs, and Fee Claims. To the extent income
is not yet sufficient to cover identified expenses, the deficiency will be addressed through loans from Ms.
Smith and/or Zuriel LLC.
PROJECTED INCOME

Gemini Realty will receive 50 percent of the proceeds from the locations of Reagan Property and Sherwin
Property from Zuriel LLC - Adult Residential Group Homes for Adults with Intellectual/Developmental
Disabilities.
                                                                                              Yearly
 2021-2022        Oct.        Nov.          Dec.          Jan.         Feb.        Mar.       Totals
 Year 2          16,000    17,000        18,000        19,000       20,000       20,000
                  Apr.        May           June          July         Aug.        Sept.
                 20,000    20,000        20,000        20,000       20,000       20,000       $230,000


                                                                                              Yearly
 2020-2021         Oct.       Nov.          Dec.          Jan.         Feb.        Mar.       Totals
 Year 1          5,000     7,000         8,000         9,000        10,000       12,000
                  Apr.        May           June          July         Aug.        Sept.
                 12,000    13,000        13,000        14,000       15,000       15,000       $133,000


                                                                                              Yearly
 2022-2023        Oct.        Nov.          Dec.          Jan.         Feb.        Mar.       Totals
 Year 3          20,000    20,000        20,000        20,000       20,000       20,000
                  Apr.        May           June          July         Aug.        Sept.
                 20,000    20,000        20,000        20,000       20,000       20,000       $240,000
